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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


        INNOVATION VENTURES,
        LLC.,

                       Plaintiff,
                  v.                        Case No. 12-13850
                                            Hon. Terrence G. Berg
        CUSTOM NUTRITION
        LABORATORIES, LLC.,
        NUTRITION SCIENCE
        LABORATORIES, LLC.,
        and ALAN JONES,

                       Defendants.

            ORDER REGARDING PARTIES’ STIPULATION TO
            RESOLVE CASE AND PROPOSED JUDGMENT
         The Court recently entered an order resolving the Parties’ cross-
    motions for summary judgment. Dkt. 343.1 In that order, the Court
    ruled that Plaintiff could not pursue two damages theories availa-
    ble in patent-infringement cases (a market-share calculation for
    lost profits, and a reasonable royalty) as remedies for its breach of
    contract claim against Defendants because Plaintiff had not demon-

    strated that Michigan contract law permits use of those damages
    theories. Dkt. 343, Pg. IDs 20,722-20,724. But the Court did not
    preclude Plaintiff from pursuing its actual damages at trial through

    1For a summary of the facts of this case, see Dkt. 343. For an in-
    depth recitation of those facts, see Dkt. 219.
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    other methods of calculation—methods not specific to patent law.
    Dkt. 343, Pg. ID 20,724, n.8.

       The order also granted summary judgment in favor of Defend-
    ants on several other of Plaintiff’s causes of action. Dkt. 343,
    Pg. IDs 20,728-20,741. The remaining claims include Count I

    (breach of contract against both NSL and Alan Jones based on their
    breach of the Settlement Agreement’s “choline family” restriction)
    and Count III (breach of contract against Jones based on his agree-

    ment not to cooperate with parties adverse to Plaintiff in litigation).
       The Parties have since contacted the Court and indicated that
    they have reached a stipulated judgment which, if entered, will re-

    solve the case. But the Parties also indicated that their resolution
    is not really intended to settle the case, but rather to permit both
    sides to immediately appeal a number of this Court’s orders. In sup-
    port of this plan, the Parties submitted a stipulation and a proposed
    judgment (copies of which are attached to this Order).
       The Court held an on-the-record telephonic conference on
    June 23, 2017 in order to discuss these documents with the Parties,
    to ensure that everyone understood what was happening, and to
    flesh out the potential ramifications of resolving the case this way.
       In the stipulation, Defendants have agreed to the entry of a judg-
    ment in Plaintiff’s favor on Count I (Defendants’ breach of the “cho-
    line family” restriction), and in exchange Plaintiff has agreed to an

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    award of nominal damages—and nominal damages only—in the
    amount of $1. Plaintiff has also agreed to dismiss Count III with

    prejudice. The Parties have further agreed that their stipulation
    does not trigger a portion of the contract related to attorney’s fees.
    And the Parties have agreed that the nominal-damages award does

    not constitute the type of prejudice needed for Defendants to be able
    to invoke their laches defense in an attempt to shield themselves
    from being held liable for breaching the “choline family” restriction.

       Consequently, following the Court’s entry of the Parties’ pro-
    posed judgment, the case will be closed.
       The unusual nature of this “settlement” prompts the Court to

    mention several concerns. The proposed judgment states that the
    Parties approve of the judgment “in form only” and preserve all
    rights of appeal. During the telephonic conference, the Court asked
    the Parties to clarify what they meant by “in form only,” and they
    responded that the language was meant to preserve all issues on
    appeal. Although it is clear that the Parties wish to preserve all
    appellate rights, the Court is not certain that entering this pro-
    posed judgment will actually preserve those rights.
       As the Court pointed out in the teleconference with the Parties,
    Plaintiff has stipulated to the award of nominal damages only, and
    is forgoing its opportunity to pursue actual damages at trial.
    Plaintiff notes that it made this choice because its expert witness

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    opined only on patent-infringement-specific methods of calculating
    actual damages (methods which the Court ruled Plaintiff could not

    pursue). Plaintiff stated that it therefore had no expert testimony
    available to prove actual damages, but did not address whether it
    could prove actual damages through other testimony, such as

    testimony of a corporate officer. In the Court’s order resolving the
    Parties’ cross-motions for summary judgment, and during the
    teleconference, the Court made it clear that Plaintiff could still

    pursue actual damages at trial. But Plaintiff has chosen to stipulate
    to a judgment awarding nominal damages. Whether Plaintiff may
    appeal anything related to seeking actual damages, after giving up

    its pursuit in favor of securing nominal damages, is unclear.
       And Defendants have stipulated to entry of judgment in
    Plaintiff’s favor on Count I, and therefore have admitted liability
    and have chosen to forgo pursuing any affirmative defenses.
    Defendants note that they did so because the proposed judgment
    awards only nominal damages. That may be the case, but the
    question of liability is separate from the question of damages. In a
    typical case where a defendant admits liability as part of a
    settlement agreement, that admission has no future effect on the
    case; the case is settled. But here, the next step is not to write a
    check and move on with other business, but to appeal a number of
    this Court’s rulings—some of which relate to affirmative defenses.

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    Whether Defendants may appeal anything related to their
    affirmative defenses, after they have stipulated to entry of

    judgment in Plaintiff’s favor (and thus have agreed that they are
    liable for breaching the “choline family” restriction), is also unclear.
       Nevertheless, the Court will enter the proposed judgment.

    The Court discussed its concerns with the Parties during the June
    23 telephonic conference. The Parties indicated that they under-
    stood the Court’s concerns, but that they wished to have the judg-

    ment entered resolving the remaining claims so that they could pur-
    sue what they perceive to be their appellate rights. The decision
    concerning the scope of those rights, and the merits of any appellate

    arguments, rests appropriately with the Sixth Circuit.
       Accordingly, Count III is DISMISSED WITH PREJUDICE,
    judgment is entered in Plaintiff’s favor on Count I, and nominal
    damages are awarded to Plaintiff in the amount of $1. The Court
    will enter the executed version of the Parties’ proposed judgment


        SO ORDERED.



     Dated: June 26, 2017       s/Terrence G. Berg
                                TERRENCE G. BERG
                                UNITED STATES DISTRICT JUDGE




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                           Certificate of Service
        I hereby certify that this Order was electronically filed, and
     the parties and/or counsel of record were served on June 26,
     2017.

                                s/A. Chubb
                                Case Manager




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